           Case 2:09-cr-00501-WBS Document 93 Filed 07/14/11 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JILL M. THOMAS
     Assistant U.S. Attorney
 3   501 "I" Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2790
 5
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S-09-501 WBS
                                  )
12                    Plaintiff, ) STIPULATION AND [PROPOSED] ORDER
                                  ) RESETTING STATUS CONFERENCE
13                v.              ) AND EXCLUDING TIME UNDER
                                  ) THE SPEEDY TRIAL ACT
14                                )
     GERARDO RANGEL, and          )
15   JOSE COBIAN,                 )
                                  )
16                    Defendants. )
     _____________________________)
17
18        The United States of America, through its counsels of record,
19   Benjamin B. Wagner, United States Attorney for the Eastern District
20   of California, and Jill M. Thomas, Assistant United States Attorney,
21   defendant Gerardo Rangel, through his counsel of record, Clemente
22   Jimenez, Esq., and defendant Jose Cobian, through his counsel of
23   record, Erin Radekin, Esq., hereby stipulate and agree that the
24   status conference set for July 18, 2011, be continued to August 8,
25   2011, at 8:30 a.m.
26        The parties need additional time for preparation.         Therefore,
27   the parties have agreed and respectfully request that the Court set
28   the date of August 8, 2011, at 8:30 a.m., for the status conference.

                                          1
              Case 2:09-cr-00501-WBS Document 93 Filed 07/14/11 Page 2 of 2


 1        Accordingly, the parties stipulate that time be excluded
 2   pursuant to 18 U.S.C. § 3161(h)(1)(F) and Local Code T4, United
 3   States Code section 3161(h)(7)(B)(iv), to give the defendants time
 4   to further review the discovery and to adequately prepare
 5   IT IS SO STIPULATED.
 6                                             BENJAMIN B. WAGNER
                                               United States Attorney
 7
 8   Dated: July 13, 2011                By:       /s/ Jill M. Thomas
                                                   JILL M. THOMAS
 9                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
10
11   DATED: July 13, 2011                By:       /s/ Clemente Jimenez
                                                   CLEMENTE JIMENEZ
12                                                 Attorney for Defendant
                                                   GERARDO RANGEL
13
     DATED: July 13, 2011                By:       /s/ Erin J. Radekin
14                                                 ERIN J. RADEKIN
                                                   Attorney for Defendant
15                                                 JOSE COBIAN
16
     ________________________________________________________________
17                                   ORDER
18        UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
19   hereby ordered that this matter be set for further status conference
20   as set forth above.
21        The Court finds excludable time as set forth above to and
22   including August 8, 2011.
23        IT IS SO ORDERED.
24   DATED:    July 14, 2011
25
26
27
28

                                               2
